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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Case No. 12-CR-20287
v.
                                                             HON. MARK A. GOLDSMITH
ALEXANDRA NORWOOD, et al.,

                  Defendants.
_____________________________/


                    ORDER REGARDING SEQUENCING OF PROOFS

       Defendants’ request for the sequencing of proofs, see Dkts. 579 and 592, is denied.

Although Defendants argue that the Government should first establish the existence of the

enterprise prior to admission of evidence relating to uncharged “other acts,” Defendants have not

cited any authority requiring such a sequencing of proofs, and the Court is unaware of any such

authority. It is well established that courts permit the admission of “other acts” evidence because

it may tend to show membership in an enterprise by demonstrating that the defendant had the

intent to further or facilitate the enterprise. United States v. Fowler, 535 F.3d 408, 422 (6th Cir.

2008) (citing Salinas v. United States, 522 U.S. 52, 65 (1997)); see also United States v. Matera,

489 F.3d 115, 120 (2d Cir. 2007) (observing that evidence of uncharged murders was admissible

“to prove an essential element of RICO crimes charged — the existence of a criminal enterprise

in which the defendants participated”). But no case has been presented to the Court mandating,

or even counseling, how the sequence of proofs should be made. Accordingly, the Court denies

Defendants’ request regarding the sequencing of proofs.
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       SO ORDERED.

Dated: July 8, 2014                                 s/Mark A. Goldsmith
       Flint, Michigan                              MARK A. GOLDSMITH
                                                    United States District Judge

                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on July 8, 2014.

                                                    s/Deborah J. Goltz
                                                    DEBORAH J. GOLTZ
                                                    Case Manager




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